      Case 2:11-cr-00458-GEB Document 138 Filed 02/02/15 Page 1 of 4


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5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,            No.   2:11-cr-00458-GEB
9                 Plaintiff,
10        v.                              TRIAL CONFIRMATION ORDER
11   BUENA MARSHALL, and DEBORAH
     LOUDERMILK,
12
                  Defendants.
13

14

15             Trial     in   the   above-captioned     case,    scheduled    to

16   commence on March 3, 2015, at 9:00 a.m., was confirmed at the

17   hearing held on January 30, 2015.

18                             EVIDENTIARY DISPUTES

19             All evidentiary disputes capable of being resolved by

20   in limine motions shall be set forth in such motions no later

21   than February 16, 2015. Oppositions to the motions or statements

22   of non-opposition shall be filed no later than February 20, 2015.

23   Reply briefs shall be filed no later than February 24, 2015.

24   Hearing on the motions will commence at 9:00 a.m. on February 27,

25   2015.

26             Any     reasonably   anticipated     dispute     concerning   the

27   admissibility of evidence that is not briefed in an in limine

28   motion shall be included in trial briefs. E.D. Cal. R. 285(a)(3).
                                         1
         Case 2:11-cr-00458-GEB Document 138 Filed 02/02/15 Page 2 of 4


 1                                     TRIAL PREPARATION

 2                 A.     No later than five court days before trial, the

 3   following documents shall be filed: 1

 4                        (1)   proposed        jury    instructions       and   a    proposed

 5   verdict form;

 6                        (2)   proposed voir dire questions to be asked by

 7   the Court;

 8                        (3)   trial briefs; and

 9                        (4)   a     joint     statement    or    joint    proposed      jury

10   instruction that can be read to the jury during voir dire that

11   explains the nature of the case.

12                 B.     The government‟s exhibits shall be numbered with

13   stickers. Should the defendants elect to introduce exhibits at

14   trial, such exhibits shall be designated by alphabetical letter

15   with stickers. Defendants shall meet and confer concerning the

16   marking of their exhibits to avoid duplication. The parties may

17   obtain exhibit stickers from the Clerk‟s Office.

18                 C.     The parties estimate it will take approximately

19   eleven (11) court days to try the case, which includes closing

20   arguments. Each side indicated twenty (20) minutes is sufficient
21   for    voir   dire,      which    may    be   used   after    the     judge     completes

22   judicial voir dire.2           Two (2) alternate jurors will be empaneled.

23                 The “struck jury” system will be used to select the

24   jury. The struck jury system is “designed to allow both the

25   prosecution        and   the     defense      a   maximum    number    of     peremptory

26   1
           Defendants need not file a trial brief and/or proposed jury instructions
     if they have tactical or other reasons for not complying with this portion of
27   the order.

28   2
             Defendants will equally split the time allotted for defense voir dire.
                                                   2
         Case 2:11-cr-00458-GEB Document 138 Filed 02/02/15 Page 3 of 4


 1   challenges. The venire . . . start[s] with about 3[6] potential

 2   jurors, from which the defense and the prosecution alternate[]

 3   with strikes until a petite panel of 12 jurors remain[s].” Powers

 4   v Ohio, 499 U.S. 400, 404-05 (1991); see also United States v.

 5   Esparza-Gonzalez, 422 F.3d 897, 899 (9th Cir. 2005) (discussing

 6   the “struck jury” system).

 7                The    Jury    Administrator          randomly      selects       potential

 8   jurors and places their names on a list that will be provided to

 9   each party in the numerical sequence in which they were randomly

10   selected. Each juror will be placed in                        his or her randomly-

11   selected seat. The first 12 jurors on the list will constitute

12   the petit jury unless one or more of those 12 is excused for some

13   reason. Assuming that the first listed juror is excused, the

14   thirteenth listed juror becomes one of the twelve jurors.

15                The   Courtroom       Deputy       will   give    each    juror      a    large

16   laminated card on which their number is placed. When questions

17   are posed to the jurors as a group, they will be asked to raise

18   their number if they have a response. Generally, jurors will be

19   given an opportunity to respond in numerical order.

20                Following the voir dire questioning, each side will
21   take turns exercising its peremptory challenges. The parties will

22   be given a sheet of paper (“strike sheet”) upon which they shall

23   silently     exercise      their    peremptory         challenges      in   the       manner

24   specified     on   the   strike     sheet,       commencing     with    Defendant,        by

25   passing the strike sheet back and forth until all peremptory

26   challenges are used or waived.3 See Esparza-Gonzalez, 422 F.3d at
27   3
           Prospective alternate juror peremptory challenges “may be used only to
     remove alternate jurors.” Fed. R. Crim. P. 24(c)(4).
28
                                                 3
         Case 2:11-cr-00458-GEB Document 138 Filed 02/02/15 Page 4 of 4


 1   899 (“Beginning with the defense, each side exercises its . . .

 2   peremptory strikes on an alternating basis.”). If a side elects

 3   to pass rather than exercise a particular peremptory challenge,

 4   that challenge is waived.4

 5                  Alternate       jurors       will    be    retained    after    the     jury

 6   retires     to      deliberate;      however,       the   alternate    jurors      are    no

 7   longer required to appear in court unless directed to appear by

 8   the Courtroom Deputy.

 9                  D.      It was agreed at the confirmation hearing that

10   each    side     has    up   to    twenty    (20)    minutes    to    make    an   opening

11   statement and up to one hundred and twenty (120) minutes to make

12   a closing argument.5 The government may decide how to allocate

13   its    total     time    for      closing    argument      between   its     opening     and

14   rebuttal arguments.6

15                  IT IS SO ORDERED.

16   Dated:     January 30, 2015

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23   4
           See id. (discussing waiver of peremptory challenges in “struck jury
24   system”); see generally United States v. Yepiz, 685 F.3d 840, 845-46 (9th Cir.
     2012) (indicating “„use it or lose it‟ voir dire practice” is authorized if
     “the composition of the panel” does not change).
25
     5
           Defendants will equally split the time allotted for defense opening
26   statements and closing arguments.
27   6
           See United States v. Patterson, 678 F.2d 774, 781 (9th Cir. 1982)
     (discussing the district court‟s discretion in limiting the length of closing
28   arguments).
                                                    4
